                                            PROMISSORY NOTE


U.S. $125,000,000.00                                                                              April 27, 2018
                                                                                                  Austin, Texas


         FOR VALUE RECEIVED, 3443 ZEN GARDEN LIMITED PARTNERSHIP, a Texas limited
partnership, having an address at 4210 Spicewood Springs Road, Suite 205, Austin, Texas 78759 (“Borrower”),
absolutely and unconditionally promises to pay to the order of ROMSPEN MORTGAGE LIMITED
PARTNERSHIP, an Ontario limited partnership, having an address at 162 Cumberland Street, Suite 300,
Toronto, Ontario M5R 3N5 (“Lender”), the principal sum of ONE HUNDRED TWENTY-FIVE MILLION
AND No/100 DOLLARS (U.S. $125,000,000.00), with interest on the unpaid principal balance to be computed
from the date of the first disbursement of the Loan proceeds under this Promissory Note (this “Note”) at the
Applicable Interest Rate (defined below), in lawful money of the United States of America, in immediately
available funds, which shall at the time of payment be legal tender for payment of all debts and dues, public and
private (the “Loan”). Repayment of the debt evidenced by this Note is secured by, among other things, (i) that
certain Deed of Trust, Assignment of Leases and Rents, Security Agreement and Fixture Filing executed as of
the date hereof Borrower in favor of Lender (the “Austin Security Instrument”). Simultaneously herewith,
Borrower and Lender have entered into that certain Loan Agreement (as the same may be amended, modified,
supplemented, replaced or otherwise modified from time to time, the “Loan Agreement”).


           PAYMENT OF PRINCIPAL AND INTEREST.
        1.1     Payments. The principal, interest and all other sums due under this Note shall be payable at the
office of Lender as set forth above, or at such other place as Lender may from time to time designate in writing,
as follows:
                (a)     Interest on the unpaid balance of the Loan shall accrue at the rate of twelve percent
(12%) per annum (the “Interest Rate”) from and including the date of the first disbursement of the Loan
proceeds under this Note until the Maturity Date (defined below), and shall be payable on a monthly basis, in
arrears, on each Scheduled Payment Date (defined below). Interest shall not accrue on the Interest Reserve
Fund (as defined in Section 6.6 of the Loan Agreement) until such time as such funds are disbursed in
accordance with the terms thereof.
                (b)     The Loan shall mature on the Maturity Date. The entire outstanding principal balance
of this Note, together with all accrued and unpaid interest and any other amounts due under this Note and the
other Loan Documents (defined below) shall be due and payable in full on the Maturity Date. Subject to
meeting the Maturity Extension Requirements, Borrower may extend the Maturity Date for one (1) additional
six (6) month term by exercising the Maturity Extension as set forth herein.
                (c)       If this Note is executed on a day other than the first (1st) day of a calendar month,
Borrower shall pay to Lender, contemporaneously with the execution of this Note, an interest payment
calculated by multiplying (i) the number of days from and including the date of this Note to and including the
last day of the current month, by (ii) a daily rate based on the Interest Rate calculated for a 360 day year. Each
interest accrual period (the “Interest Period”) thereafter shall commence on the first (1st) day of each calendar
month during the term of the Loan and shall end on the last day of the next occurring calendar month.
Commencing on the Scheduled Payment Date occurring June 1, 2018] and on each Scheduled Payment Date
thereafter throughout the term of the Loan, Borrower shall make a payment to Lender monthly in arrears of
interest accruing on the outstanding principal balance during each Interest Period (each such payment,
a “Monthly Debt Service Payment”).




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                 (d)     All amounts due under this Note and each other Loan Document shall be payable
without setoff, counterclaim or any other deduction whatsoever.
                (e)     Principal payments shall be made on this Note as provided in Section 2.4 of the Loan
Agreement.
         1.2    Computation. Interest at the Applicable Interest Rate on the principal sum of this Note shall
be calculated on the basis of a three hundred sixty (360) day year and the actual number of days elapsed in such
period and shall be compounded monthly. In computing the number of days during which interest accrues, the
day on which funds are advanced shall be included regardless of the time of day such advance is made, and the
day on which funds are repaid shall be included unless repayment is credited prior to Lender’s close of business.
For the purposes of the Interest Act (Canada) and disclosure thereunder, whenever any interest or any fee to be
paid hereunder or in connection herewith is to be calculated on the basis of a 360-day year, the yearly rate of
interest to which the rate used in such calculation is equivalent is the rate so used multiplied by the actual
number of days in the calendar year in which the same is to be ascertained and divided by 360. The rates of
interest under this Note are nominal rates, and not effective rates or yields. The principle of deemed
reinvestment of interest does not apply to any interest calculation under this Note.
         1.3    Determination. Payments under this Note or any other Loan Document made in United States
federal funds immediately available in the place designated for payment which are received by Lender prior to
2:00 p.m. local time at said place of payment shall be considered by Lender as having been received prior to
close of business, while other payments may, at the option of Lender, not be credited until immediately available
to Lender in federal funds in the place designated for payment prior to 2:00 p.m. local time at said place of
payment on a day on which Lender is open for business.
        1.4     Making of Payments. Each payment by Borrower hereunder or under the Loan Agreement or
any other Loan Document shall be made in immediately available funds to Lender on the date such payment is
due to Lender, without presentment, demand, protest or notice of any kind, all such notices being hereby waived
and without setoff, counterclaim or other deduction of any nature. Whenever any payment hereunder or under
the Loan Agreement or any other Loan Document shall be stated to be due on a day which is not a Business Day
such payment shall be made on the next following Business Day, and, if applicable, interest shall continue to
accrue and be payable at the applicable interest rate during such extension. Borrower shall remit all payments to
Lender via an automatic debit service approved by Lender. For so long as Lender maintains the Interest
Reserve, Lender shall pay the Monthly Debt Service Payment from such Interest Reserve on each Scheduled
Payment Date.
      1.5    Application. Payments under this Note shall be applied in accordance with Section 2.5 of the
Loan Agreement. No principal amount repaid may be re-borrowed.
         1.6     Maturity Grace Period. If Borrower fails to pay the unpaid balance of the Loan and all unpaid
accrued interest thereon on the Maturity Date (other than a Maturity Date arising pursuant to clause (iv) of the
definition of Maturity Date), Lender may, at its sole discretion, grant to Borrower a Maturity Grace Period (in
lieu of such occurrence being deemed a Default). During the Maturity Grace Period, the unpaid balance of the
Loan shall accrue interest at the Maturity Grace Period Interest Rate, with the unpaid balance of the Loan and all
unpaid accrued interest thereon, including interest that accrues during the Maturity Grace Period, being due and
payable in full on the last day of the Maturity Grace Period. There shall be no more than one (1) Maturity Grace
Period. If Lender grants a Maturity Grace Period to Borrower, the Maturity Grace Period Fee shall
automatically be added to the outstanding balance of the Loan. Borrower’s failure to pay the unpaid balance of
the Loan and all unpaid accrued interest on the first day after the expiration of the Maturity Grace Period shall
constitute a Default.
        1.7     Definitions. All capitalized terms used in this Note without definition shall have the meanings
assigned to such terms in the Loan Agreement, all of the terms of such Loan Agreement being hereby
incorporated into and made part of this Note by reference for all purposes. Additionally, for purposes of this
Note, the following terms shall have the following meanings:



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         “Applicable Interest Rate” shall mean the Interest Rate, the Default Rate, or the Maturity Grace Period
Interest Rate, as applicable.
       “Banking Day” shall mean a day on which the Toronto, Ontario, head office for the Royal Bank of
Canada is open for business and which is not a Saturday, Sunday, civic or statutory holiday in Canada.
         “Business Day” shall mean a day on which commercial banks are not authorized or not required by law
to close in the State of New York or in the State where the Property is located.
           “Default Rate” has the meaning given thereto in Section 2.3.
           “Interest Period” has the meaning given thereto in Section 1.1(c).
           “Interest Rate” has the meaning given thereto in Section 1.1(a).
           “Loan Agreement” has the meaning given thereto in the recitals above.
        “Maturity Date” shall mean (i) if not extended pursuant to the Maturity Extension, May 1, 2020, (ii) if
extended pursuant to the Maturity Extension, November 1, 2020, or (iii) any earlier date on which Lender’s
obligation to make disbursements of the Loan has been terminated and the Loan has been accelerated, in each
case pursuant to the terms of the Loan Agreement.
        “Maturity Extension” shall mean that Lender has determined that Borrower has timely satisfied all
Maturity Extension Requirements prior to April 16, 2020, and Lender has extended the Maturity Date from
May 1, 2020 to November 1, 2020.
           “Maturity Extension Requirements” shall collectively mean the following:
                   (i)     Delivery by Borrower to Lender of written notice no less than fifteen (15) days prior to
           the applicable Maturity Date (the “Maturity Extension Notice”) that Borrower seeks to exercise the
           Maturity Extension;
                   (ii)    Delivery by Borrower to Lender no later than the applicable Maturity Date of an
           extension fee in immediately available funds in an amount equal to one-half of one percent (0.5%) of
           the then outstanding principal balance of the Loan; and
                   (iii)   No uncured Default remains outstanding.
         “Maturity Grace Period Interest Rate” shall mean an interest rate that is the greater of :(i) the Interest
Rate and (ii) the Royal Bank of Canada Prime Rate per annum, plus five percent (5%); as determined on the first
(1st) Banking Day of the month in which the Maturity Date occurs.
         “Maturity Grace Period” shall mean the period from the Maturity Date through and including the date
that is one (1) month from the Maturity Date. There shall be no Maturity Grace Period available to Borrower if
the Maturity Date arises pursuant to clause (ii) of the definition of Maturity Date.
        “Maturity Grace Period Fee” shall mean an amount equal to the greater of (i) $5,000.00, and (ii) one
percent (1%) of the then outstanding principal balance of the Loan.
        “Prepayment Premium” means payment in immediately available funds in the amount of the most
recent Monthly Debt Service Payment.
        “Royal Bank of Canada Prime Rate” means the rate of interest, expressed as a percentage per annum,
published and quoted by the Royal Bank of Canada’s Toronto, Ontario, Head Office and which is commonly
known as the prime lending rate for commercial loans in Canadian Dollars.
        “Scheduled Payment Date” shall mean the first (1st) day of each calendar month, or if such first (1st)
day is not a Business Day, the next Business Day.

2.         DEFAULT.




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         2.1     Late Fee. If any principal, interest or any other sum due under this Note or the other Loan
Documents (other than the payment of principal during the Maturity Grace Period) is not paid by Borrower on
the date on which it is due, Borrower shall pay to Lender upon demand an amount equal to the lesser of five
percent (5%) of such unpaid sum or the maximum amount permitted by any Legal Requirements, in order to
defray the expense incurred by Lender in handling and processing such delinquent payment and to compensate
Lender for the loss of the use of such delinquent payment. Any such amount shall be secured by the Security
Instruments and the other Loan Documents. Lender shall not have the right to impose any Late Fee for so long
as there are sufficient funds in the Interest Reserve to pay any Debt Service Payment on its Scheduled Payment
Date.
         2.2     Remedies. The entire outstanding principal sum of this Note, together with all interest accrued
and unpaid thereon and all other sums due under this Note, the Security Instruments, or any of the other Loan
Documents, or any portion thereof, including without limitation, any amounts described in Section 12.9 of the
Loan Agreement shall without notice become immediately due and payable at the option of Lender upon the
Lender's declaration of Default. Time is of the essence in this Note, the Security Instruments and the other Loan
Documents. All of the terms, covenants and conditions contained in the Security Instruments and the other
Loan Documents are hereby made part of this Note to the same extent and with the same force as if they were
fully set forth herein. All payments from Borrower to Lender following the declaration of a Default shall be
applied in such order and manner as Lender elects in reduction of costs, expenses, charges, disbursements and
fees payable by Borrower hereunder or under any other Loan Document, in reduction of interest due on the
outstanding principal balance of the Loan, or in reduction thereof. Lender may, without notice to Borrower or
any other person, accept one or more partial payments of any sums due or past due hereunder from time to time
while a Default exists hereunder, after Lender accelerates the indebtedness evidenced hereby, and/or after
Lender commences enforcement of its remedies under any Loan Document or applicable law, without thereby
waiving any Default, rescinding any acceleration, or waiving, delaying, or forbearing in the pursuit of any
remedies under the Loan Documents. Lender may endorse and deposit any check or other instrument tendered
in connection with such a partial payment without thereby giving effect to or being bound by any language
purporting to make acceptance of such instrument an accord and satisfaction of the indebtedness evidenced
hereby.
         2.3      Default Rate. Upon the declaration of a Default by Lender under this Note, and following the
expiration of the applicable cure period (if any) as to such Default (each of the foregoing a “Default”), Lender
shall be entitled to receive and Borrower shall pay interest on the entire unpaid principal sum at the Interest Rate
plus five percent (5%) (the “Default Rate”). The Default Rate shall be automatically computed from the
occurrence of the Default until the actual receipt and collection of this Note in full or, if permitted by Lender (of
which Lender has no obligation to do so), the date such Default is cured. This charge shall be added to this
Note, and shall be deemed secured by the Security Instruments and the other Loan Documents. Borrower agrees
that Lender’s right to collect interest at the Default Rate is given for the purpose of compensating Lender at
reasonable amounts for Lender’s added costs and expenses that occur as a result of Borrower’s default and that
are difficult to predict in amount, such as increased general overhead, concentration of management resources
on problem loans, and increased cost of funds. Lender and Borrower agree that Lender’s collection of interest at
the Default Rate is not a fine or penalty, but is intended to be and shall be deemed to be reasonable
compensation to Lender for increased costs and expenses that Lender will incur if there occurs a Default
hereunder. Collection of interest at the Default Rate shall not be construed as an agreement or privilege to
extend the Maturity Date or to limit or impair any rights and remedies of Lender under any Loan Documents. In
the event the Default Rate would otherwise exceed the maximum rate permitted by applicable law, the Default
Rate shall be the maximum rate permitted by applicable law.
        2.4     Post-Judgment. Interest shall accrue on any judgment obtained by Lender in connection with
the enforcement or collection of this Note or the other Loan Documents (including foreclosure of the Security
Instruments) until such judgment amount is irrevocably paid in full at a rate equal to the greater of (a) the
Default Rate or (b) the highest legal rate applicable to judgments within such jurisdiction; provided, however,




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that interest shall not accrue at a rate in excess of the maximum rate of interest, if any, which may be charged by
Lender or collected from Borrower under applicable law.
        2.5      Remedies Cumulative. The remedies available to Lender under this Note and in the other Loan
Documents, or at law or in equity, shall be cumulative and concurrent, and may be pursued singly, successively
or together in Lender’s sole discretion and as often as occasion therefor shall arise.

3.         PREPAYMENT.
           3.1   Prepayment.
                 (a)   Except as set forth in Sections 3.1(b) and 3.1(c), Borrower shall not have the right to
prepay the Loan in whole or in part prior to the Maturity Date.
               (b)      At any time prior to the Maturity Date, Borrower shall have the right to prepay the
Loan, in whole or in part, without premium or penalty as a result of payments made pursuant to Section 2.3 of
the Loan Agreement.
                 (c)      On any Scheduled Payment Date during the term of the Loan, so long as no Default
shall have occurred and be continuing, Borrower may, at its option and upon not less than thirty (30) days prior
notice to Lender, prepay the outstanding principal balance of the Loan in whole only (and not in part) with
payment of the Prepayment Premium. If after notifying Lender of its intent to prepay, Borrower revokes such
prior notice or fails to make such prepayment on the date specified in such notice, Borrower shall pay all actual
costs and expenses incurred by Lender as a result of such failure or revocation. Any prepayment received by
Lender under this Section shall, in addition to the outstanding principal balance of the Loan and the Prepayment
Premium, also be accompanied by (a) if for any reason such prepayment does not occur on a Scheduled
Payment Date, all interest which would have accrued on the principal amount prepaid through, but not
including, the next occurring Scheduled Payment Date, (b) all other sums due and payable under the Loan
Documents, and (c) all reasonable out-of-pocket costs and expenses incurred by Lender in connection with such
prepayment. Borrower acknowledges that Lender has made the Loan to Borrower in reliance on the actual
receipt over time of the principal and interest as applicable as agreed to by Borrower herein and that Lender will
incur additional costs and expenses in the event of a prepayment of the Loan and that the Prepayment Premium
is reasonable and is a bargained for consideration and not a penalty and the terms of the Loan are in various
respects more favorable to Borrower than they would have been absent Borrower’s agreement to pay the
Prepayment Premium as provided herein. Borrower agrees that Lender shall not, as a condition to receiving the
Prepayment Premium, be obligated to actually reinvest the amount prepaid in any treasury obligation or in any
other manner whatsoever. Nothing contained herein shall be deemed to be a waiver by Lender of any right it
may have to require specific performance of any obligation of Borrower hereunder.
         3.2    Prepayment Upon Default. If following the Lender's declaration of Default, Lender shall
accelerate the Loan, Borrower shall pay to Lender all amounts payable under this Note and the other Loan
Documents. If Borrower shall tender payment of an amount sufficient to satisfy the Debt at any time prior to a
sale of the Property, either through foreclosure or the exercise of the other remedies available to Lender under
the Loan Documents, such tender by Borrower shall be deemed to be voluntary and Borrower shall pay all
amounts due and payable under the Loan Documents, including without limitation, amounts described in
Section 3.1.

4.      SECURITY. The indebtedness evidenced by this Note is governed by the Loan Agreement and the
obligations created hereby (including without limitation the amounts authorized by Section 2 to be collected by
Lender) are secured by, among other things, the Security Instruments and other Loan Documents.

5.         GENERAL




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        5.1     Written Amendment Only. This Note may not be modified, amended, waived, extended,
changed, discharged or terminated orally or by any act or failure to act on the part of Borrower or Lender, but
only by an agreement in writing signed by Borrower and Lender.
         5.2      Certain Waivers. Except for any notices specifically required by the Loan Agreement,
Borrower and all others who may become liable for the payment of all or any part of the Debt do hereby
severally waive presentment and demand for payment, notice of dishonor, protest and notice of protest, notice of
non-payment, notice of acceleration, and notice of intent to accelerate the maturity hereof (and of such
acceleration). No release of any security for the Loan or extension of time for payment of this Note or any
installment hereof, and no alteration, amendment or waiver of any provision of this Note or the other Loan
Documents made by agreement between Lender and any other Person shall release, modify, amend, waive,
extend, change, discharge, terminate or affect the liability of Borrower, or any other Person who may become
liable for the payment of all or any part of the Debt, under this Note and the other Loan Documents. Lender
may release any guarantor or indemnitor of the Loan from liability, in every instance without the consent of the
Borrower hereunder, and without waiving any rights the Lender may have hereunder, the other Loan Documents
or by virtue of the laws of the State in which the Property is located or any other state of the United States.
        5.3     Severability. If any provision or obligation under this Note and the other Loan Documents shall
be determined by a court of competent jurisdiction to be invalid, illegal or unenforceable, that provision shall be
deemed severed from the Loan Documents and the validity, legality and enforceability of the remaining
provisions or obligations shall remain in full force as though the invalid, illegal, or unenforceable provision had
never been a part of the Loan Documents.
        5.4      Notices. All notices or other written communications hereunder shall be given and become
effective as provided in Section 12.5 of the Loan Agreement.
        5.5     Set-Off Preference. Borrower is and shall be obligated to pay principal, interest and any and all
other amounts which become payable hereunder or under the other Loan Documents absolutely and
unconditionally and without any abatement, postponement, diminution or deduction and without any reduction
for counterclaim or setoff. In the event that at any time any payment received by Lender hereunder shall be
deemed by a court of competent jurisdiction to have been a voidable preference or fraudulent conveyance under
any bankruptcy, insolvency or other debtor relief law, then the obligation to make such payment shall survive
any cancellation or satisfaction of this Note or return thereof to Borrower and shall not be discharged or satisfied
with any prior payment thereof or cancellation of this Note, but shall remain a valid and binding obligation
enforceable in accordance with the terms and provisions hereof, and such payment shall be immediately due and
payable upon demand.
         5.6     Successors and Assigns. The terms and provisions hereof shall be binding upon and inure to the
benefit of Borrower and Lender and their respective heirs, executors, legal representatives, successors,
successors-in-title and permitted assigns, whether by voluntary action of the parties or by operation of law. As
used in this Note and the other Loan Documents, the terms “Borrower” and “Lender” shall be deemed to
include their respective heirs, executors, legal representatives, successors, successors-in-title and permitted
assigns (no right to assign on the part of Borrower being implied hereby), whether by voluntary action of the
parties or by operation of law.
        5.7       Joint and Several. If Borrower consists of more than one Person, each shall be jointly and
severally liable to for the Obligations.
         5.8     Interpretation. Sections 1.2, 12.18, and 12.19 of the Loan Agreement are hereby incorporated
into this Note by reference for all purposes.
     5.9   WAIVER OF TRIAL BY JURY. BORROWER HEREBY AGREES NOT TO ELECT A
TRIAL BY JURY OF ANY ISSUE TRIABLE OF RIGHT BY JURY, AND WAIVES ANY RIGHT TO
TRIAL BY JURY FULLY TO THE EXTENT THAT ANY SUCH RIGHT SHALL NOW OR
HEREAFTER EXIST WITH REGARD TO THIS NOTE, OR ANY CLAIM, COUNTERCLAIM OR
OTHER ACTION ARISING IN CONNECTION THEREWITH. THIS WAIVER OF RIGHT TO


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TRIAL BY JURY IS GIVEN KNOWINGLY AND VOLUNTARILY BY BORROWER, AND IS
INTENDED TO ENCOMPASS INDIVIDUALLY EACH INSTANCE AND EACH ISSUE AS TO
WHICH THE RIGHT TO A TRIAL BY JURY WOULD OTHERWISE ACCRUE. LENDER IS
HEREBY AUTHORIZED TO FILE A COPY OF THIS PARAGRAPH IN ANY PROCEEDING AS
CONCLUSIVE EVIDENCE OF THIS WAIVER BY BORROWER.
          5.10   GOVERNING LAW. Except as otherwise expressly set forth herein, this Note shall be
governed, construed, applied and enforced in accordance with the laws of the state where the Property described
in the Austin Security Instrument is located without regard to the conflicts of law provisions thereof
(“Governing State”). Borrower and Lender hereby consent to personal jurisdiction in the Governing State.
JURISDICTION AND VENUE OF ANY ACTION BROUGHT TO ENFORCE THIS NOTE OR ANY
OTHER LOAN DOCUMENT OR ANY ACTION RELATING TO THE TERM LOAN OR THE
RELATIONSHIPS CREATED BY OR UNDER THE LOAN DOCUMENTS (“ACTION”) SHALL, AT THE
ELECTION OF LENDER, BE IN (AND IF ANY ACTION IS ORIGINALLY BROUGHT IN ANOTHER
VENUE, THE ACTION SHALL AT THE ELECTION OF LENDER BE TRANSFERRED TO) A STATE OR
FEDERAL COURT OF APPROPRIATE JURISDICTION LOCATED IN THE GOVERNING STATE.
BORROWER AND LENDER HEREBY CONSENT AND SUBMIT TO THE PERSONAL JURISDICTION
OF THE STATE COURTS OF THE GOVERNING STATE AND OF FEDERAL COURTS LOCATED IN
THE GOVERNING STATE IN CONNECTION WITH ANY ACTION AND HEREBY WAIVES ANY AND
ALL PERSONAL RIGHTS UNDER THE LAWS OF ANY OTHER STATE OR COUNTRY TO OBJECT TO
JURISDICTION WITHIN SUCH GOVERNING STATE FOR PURPOSES OF ANY ACTION. Borrower
hereby waives and agrees not to assert, as a defense to any Action or a motion to transfer venue of any Action,
(i) any claim that it is not subject to such jurisdiction, (ii) any claim that any Action may not be brought against
it or is not maintainable in those courts or that this Note may not be enforced in or by those courts, or that it is
exempt or immune from execution, (iii) that the Action is brought in an inconvenient forum, or (iv) that the
venue for the Action is in any way improper.
         5.11    Expenses. Borrower shall pay Lender, on demand, all Administration and Enforcement
Expenses (as hereinafter defined) now or hereafter incurred by Lender, together with interest thereon at the
Default Rate, from the date paid or incurred by Lender until such fees and expenses are paid by Borrower,
whether or not a Default then exists. For the purpose of this Note, “Administration and Enforcement
Expenses” shall mean all fees and expenses incurred at any time or from time to time by Lender, including
reasonable legal (whether for the purpose of advice, negotiation, documentation, defense, enforcement or
otherwise), accounting, financial advisory, auditing, rating agency, appraisal, valuation, title or title insurance,
engineering, environmental, collection agency, or other expert or consulting or similar services, in connection
with: (a) the origination of the Loan, including the negotiation and preparation of the Loan Documents and any
amendments or modifications of the Loan or the Loan Documents, whether or not consummated; (b) the
administration, servicing or enforcement of the Loan or the Loan Documents, including any request for
interpretation or modification of the Loan Documents or any matter related to the Loan or the servicing thereof
(which shall include the consideration of any requests for consents, waivers, modifications, approvals, lease
reviews or similar matters and any proposed transfer of the Property or any interest therein), (c) any litigation,
contest, dispute, suit, arbitration, mediation, proceeding or action (whether instituted by or against Lender,
including actions brought by or on behalf of Borrower or Borrower’s bankruptcy estate or any indemnitor or
guarantor of the Loan or any other person) in any way relating to the Loan or the Loan Documents including in
connection with any bankruptcy, reorganization, insolvency, or receivership proceeding; (d) any attempt to
enforce any rights of Lender against Borrower or any other person that may be obligated to Lender by virtue of
any Loan Document or otherwise whether or not litigation is commenced in pursuance of such rights; and (e)
protection, enforcement against, or liquidation of the Property or any other collateral for the Loan, including any
attempt to inspect, verify, preserve, restore, collect, sell, liquidate or otherwise dispose of or realize upon the
Loan, the Property or any other collateral for the Loan. Administration and Enforcement Expenses shall be
limited to reasonable fees and expenses, provided, however, charges of governmental entities or other third
parties that are outside of the control of Lender shall not be subject to the reasonableness standard. All
Administration and Enforcement Expenses shall be additional Debt hereunder secured by the Property, and may


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be funded, if Lender so elects, by Lender paying the same to the appropriate persons and thus making an
advance on Borrower’s behalf.
         5.12    Avoidance of Debt Payments. To the extent that any payment to Lender and/or any payment or
proceeds of any collateral received by Lender in reduction of the Debt is subsequently invalidated, declared to
be fraudulent or preferential, set aside and/or required to be repaid to a trustee, to Borrower (or Borrower’s
successor) as a debtor in possession, or to a receiver, creditor, or any other party under any bankruptcy law, state
or federal law, common law or equitable cause, then the portion of the Debt intended to have been satisfied by
such payment or proceeds shall remain due and payable hereunder, be evidenced by this Note, and shall
continue in full force and effect as if such payment or proceeds had never been received by Lender whether or
not this Note has been marked “paid” or otherwise cancelled or satisfied and/or has been delivered to Borrower,
and in such event Borrower shall be immediately obligated to return the original Note to Lender and any
marking of “paid” or other similar marking shall be of no force and effect.
          5.13    Miscellaneous. Neither this Note nor any of the terms hereof, including the provisions of this
Section, may be terminated, amended, supplemented, waived or modified orally, but only by an instrument in
writing executed by the party against which enforcement of the termination, amendment, supplement, waiver or
modification is sought, and the parties hereby: (a) expressly agree that it shall not be reasonable for any of them
to rely on any alleged, non-written amendment to this Note; (b) irrevocably waive any and all right to enforce
any alleged, non-written amendment to this Note; and (c) expressly agree that it shall be beyond the scope of
authority (apparent or otherwise) for any of their respective agents to agree to any non-written modification of
this Note. This Note may be executed in several counterparts, each of which counterpart shall be deemed an
original instrument and all of which together shall constitute a single Note. The failure of any party hereto to
execute this Note, or any counterpart hereof, shall not relieve the other signatories from their obligations
hereunder. As used in this Note, (i) the terms “include,” “including” and similar terms shall be construed as if
followed by the phrase “without being limited to,” (ii) any pronoun used herein shall be deemed to cover all
genders, and words importing the singular number shall mean and include the plural number, and vice versa,
(iii) all captions to the Sections hereof are used for convenience and reference only and in no way define, limit
or describe the scope or intent of, or in any way affect, this Note, (iv) no inference in favor of, or against, Lender
or Borrower shall be drawn from the fact that such party has drafted any portion hereof or any other Loan
Document, (v) the words “Lender” and “Borrower” shall include their respective successors (including, in the
case of Borrower, any subsequent owner or owners of the Property or any part thereof or any interest therein and
Borrower in its capacity as debtor-in-possession after the commencement of any bankruptcy proceeding),
assigns, heirs, personal representatives, executors and administrators, (vi) the term “or” has, except where
otherwise indicated, the inclusive meaning represented by the phrase “and/or,” (vii) the words “hereof,”
“herein,” “hereby,” “hereunder,” and similar terms in this Note refer to this Note as a whole and not to any
particular provision or section of this Note, (viii) a Default shall “continue” or be “continuing” until such
Default has been waived in writing by Lender, and (ix) in the computation of periods of time from a specified
date to a later date, the word “from and including” and the words “to” and “until” each means “to but
excluding.” Wherever Lender’s judgment, consent, approval or discretion is required under this Note or Lender
shall have an option, election, or right of determination or any other power to decide any other matter relating to
the terms of this Note, including any right to determine that something is satisfactory or not (“Decision
Power”), such Decision Power shall be exercised in the sole and absolute discretion of Lender except as may be
otherwise expressly and specifically provided herein. Such Decision Power and each other power granted to
Lender upon this Note or any other Loan Document may be exercised by Lender or by any authorized agent of
Lender (including any servicer and/or attorney-in-fact), and Borrower hereby expressly agrees to recognize the
exercise of such Decision Power by such authorized agent. In the event of a conflict between or among the
terms, covenants, conditions or provisions of the Loan Documents, the term(s), covenant(s), condition(s) and/or
provision(s) that Lender may elect to enforce from time to time so as to enlarge the interest of Lender in its
security, afford Lender the maximum financial benefits or security for the Debt, and/or provide Lender the
maximum assurance of payment of the Debt in full shall control. Capitalized terms used herein shall, unless
otherwise defined herein, have the meanings set forth in the Loan Agreement. BORROWER AND LENDER
EACH ACKNOWLEDGE AND AGREE THAT IT HAS BEEN PROVIDED WITH SUFFICIENT AND


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NECESSARY TIME AND OPPORTUNITY TO REVIEW THE TERMS OF THIS NOTE, THE SECURITY
INSTRUMENTS, AND EACH OF THE LOAN DOCUMENTS, WITH ANY AND ALL COUNSEL IT
DEEMS APPROPRIATE, AND THAT NO INFERENCE IN FAVOR OF, OR AGAINST, LENDER OR
BORROWER SHALL BE DRAWN FROM THE FACT THAT EITHER SUCH PARTY HAS DRAFTED
ANY PORTION HEREOF, OR THE SECURITY INSTRUMENTS, OR ANY OF THE LOAN DOCUMENTS.
         5.14     Usury Savings. It is expressly stipulated and agreed to be the intent of Borrower and Lender at
all times to comply with the applicable Texas law governing the maximum rate of interest payable on the
indebtedness evidenced by this Note, the Loan Agreement, and the Related Debt (or applicable United States
federal law to the extent that it permits Lender to contract for, charge, take, reserve or receive a greater amount
of interest than under Texas law). If the applicable law is ever judicially interpreted so as to render usurious any
amount (i) contracted for, charged, taken, reserved or received pursuant to this Note, the Loan Agreement, any
of the other Loan Documents or any other communication or writing by or between Borrower and Lender
related to the transaction or transactions that are the subject matter of the Loan Documents, (ii) contracted for,
charged, taken, reserved or received by reason of Lender’s exercise of the option to accelerate the maturity of
this Note and/or the Related Debt, or (iii) Borrower will have paid or Lender will have received by reason of any
voluntary prepayment by Borrower of this Note and/or the Related Debt, then it is Borrower’s and Lender’s
express intent that all amounts charged in excess of the Maximum Lawful Rate shall be automatically canceled,
ab initio, and all amounts in excess of the Maximum Lawful Rate theretofore collected by Lender shall be
credited on the principal balance of this Note and/or the Related Debt (or, if this Note and all Related Debt have
been or would thereby be paid in full, refunded to Borrower), and the provisions of this Note, the Loan
Agreement, and other Loan Documents shall immediately be deemed reformed and the amounts thereafter
collectible hereunder and thereunder reduced, without the necessity for the execution of any new document, so
as to comply with the applicable law, but so as to permit the recovery of the fullest amount otherwise called for
hereunder and thereunder; provided, however, if this Note has been paid in full before the end of the stated term
of this Note, then Borrower and Lender agree that Lender shall, with reasonable promptness after Lender
discovers or is advised by Lender that interest was received in an amount in excess of the Maximum Lawful
Rate, either refund such excess interest to Lender and/or credit such excess interest against this Note and/or any
Related Debt then owing by Borrower to Lender. Borrower hereby agrees that as a condition precedent to any
claim seeking usury penalties against Lender, Borrower will provide written notice to Lender, advising Lender
in reasonable detail of the nature and amount of the violation, and Lender shall have sixty (60) days after receipt
of such notice in which to correct such usury violation, if any, by either refunding such excess interest to
Borrower or crediting such excess interest against this Note and/or the Related Debt then owing by Borrower to
Lender. All sums contracted for, charged, taken, reserved or received by Lender for the use, forbearance or
detention of any debt evidenced by this Note and/or Related Debt shall, to the extent permitted by applicable
law, be amortized or spread, using the actuarial method, throughout the stated term of this Note and/or Related
Debt (including any and all renewal and extension periods) until payment in full so that the rate or amount of
interest on account of this Note and/or the Related Debt does not exceed the Maximum Lawful Rate from time
to time in effect and applicable to this Note and/or the Related Debt for so long as debt is outstanding. In no
event shall the provisions of Chapter 346 of the Texas Finance Code (which regulates certain revolving credit
loan accounts and revolving triparty accounts) apply to this Note and/or Related Debt. Notwithstanding
anything to the contrary contained herein or in any other Loan Documents, it is not the intention of Lender to
accelerate the maturity of any interest that has not accrued at the time of such acceleration or to collect unearned
interest at the time of such acceleration. To the extent that Lender is relying on Chapter 303 of the Texas
Finance Code to determine the Maximum Lawful Rate payable on the Note and/or the Related Debt, Lender will
utilize the weekly ceiling from time to time in effect as provided in such Chapter 303, as amended. To the
extent United States federal law permits Lender to contract for, charge, take, receive or reserve a greater amount
of interest than under Texas law, Lender will rely on United States federal law instead of such Chapter 303 for
the purpose of determining the Maximum Lawful Rate. Additionally, to the extent permitted by applicable law
now or hereafter in effect, Lender may, at its option and from time to time, utilize any other method of
establishing the Maximum Lawful Rate under such Chapter 303 or under applicable law by giving notice, if
required, to Borrower as provided by applicable law now or hereafter in effect. As used hereunder the term



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“Maximum Lawful Rate” shall mean the maximum lawful rate of interest which may be contracted for,
charged, taken, received or reserved by Lender in accordance with the applicable laws of the State of Texas (or
applicable United States federal law to the extent that such law permits Lender to contract for, charge, take,
receive or reserve a greater amount of interest than under Texas law), taking into account all Charges made in
connection with the transaction evidenced by this Note and the other Loan Documents. As used hereunder, the
term “Charges” shall mean all fees, charges and/or any other things of value, if any, contracted for, charged,
taken, received or reserved by Lender in connection with the transactions relating to this Note and the other
Loan Documents, which are treated as interest under applicable law. As used hereunder, the term “Related
Debt” shall mean any and all indebtedness paid or payable by Borrower to Lender pursuant to the Loan
Documents or any other communication or writing by or between Borrower and Lender related to the
transaction or transactions that are the subject matter of the Loan Documents, except such indebtedness which
has been paid or is payable by Borrower to Lender under this Note. In addition, if any provision of this Note
would oblige the Borrower to make any payment of interest or other amount payable to any Lender in an
amount or calculated at a rate which would be prohibited by any applicable law or would result in a receipt by
that Lender of “interest” at a “criminal rate” (as such terms are construed under the Criminal Code (Canada)),
then, notwithstanding such provision, such amount or rate shall be deemed to have been adjusted with
retroactive effect to the maximum amount or rate of interest, as the case may be, as would not be so prohibited
by applicable law or so result in a receipt by that Lender of “interest” at a “criminal rate”, such adjustment to be
effected, to the extent necessary (but only to the extent necessary), as follows:
           (i)   first, by reducing the amount or rate of interest required to be paid to the Lender; and
        (ii)    thereafter, by reducing any fees, commissions, costs, expenses, premiums and other amounts
required to be paid to the affected Lender which would constitute interest for purposes of Section 347 of the
Criminal Code (Canada) or the laws of the State of Texas.
        5.15     Exculpation. The Debt shall be fully recourse to Borrower, and Borrower shall be fully
personally liable for all of the Debt.

      5.16 Final Agreement. THIS WRITTEN AGREEMENT REPRESENTS THE FINAL
AGREEMENT BETWEEN THE PARTIES AND MAY NOT BE CONTRADICTED BY EVIDENCE OF
PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES. THERE
ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES.


                               [SEPARATE SIGNATURE PAGE FOLLOWS.]




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